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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §                Case No: 2:15-cv-01877-JRG-RSP
                                    §
vs.                                 §                LEAD CASE
                                    §
AMERICAN HONDA MOTOR CO.,           §
INC.                                §
                                    §
      Defendant.                    §
___________________________________ §
ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §                Case No: 2:15-cv-01882-JRG-RSP
 .                                  §
vs.                                 §                CONSOLIDATED CASE
                                    §
VOLVO CARS OF NORTH AMERICA, §
LLC.                                §
                                    §
      Defendant.                    §
___________________________________ §

                                           ORDER

       On this day the Court considered the Unopposed Motion to Dismiss Defendant Volvo
Cars of North America, LLC. It is therefore ORDERED that all claims by and between the
parties are hereby DISMISSED WITH PREJUDICE, with each party to bear its own costs,
expensesSIGNED
        and attorneys’  fees.day of January, 2012.
                  this 3rd
        SIGNED this 13th day of July, 2016.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE
